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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 19-00190JVS(DFMx)                                                Date     June 24, 2019

 Title             Carmen John Perri v Chivens, Inc, et al


 Present: The                    James V. Selna, US District Court Judge
 Honorable
                         Lisa Bredahl                                                 Sharon Seffens
                         Deputy Clerk                                                 Court Reporter
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                         Osman Taher                                             Stephen Abraham


 Proceedings:           Scheduling Conference (Continued from 4/29/19)

       Cause is called for hearing and counsel make their appearances. Court and counsel confer.
Counsel notify the Court that they have held a settlement conference but the matter did not settle. The
Court sets the case management dates with the agreement of counsel as follows:

                            Jury Trial                             April 28, 2020 at 8:30 a.m.
                             File Findings of Fact and Conclusions of Law by April 21, 2020
                            Final PreTrial Conference              April 13, 2020 at 11:00 a.m.
                              File PreTrial Documents not later than April 6, 2020
                              File motions in limine not later than March 16, 2020
                            Discovery Cut-off                      January 13, 2020
                            Law and Motion Cut-off                 March 9, 2020 at 1:30 p.m.
                              Motions to be filed and served not later than February 10, 2020
                            Last Day to Amend Pleadings or Add Parties August 2, 2019




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                                                               Initials of Preparer         lmb




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